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                                                      UNITED STATES DISTRICT COURT
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                                                            DISTRICT OF NEVADA
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                                                                         2:10-CR-00003 JCM (PAL)
                  7      UNITED STATES OF AMERICA,

                  8                      Plaintiff,
                  9      v.
                10
                         CHRISTOPHER BIGGERS,
                11
                                         Defendant.
                12
                13                                                    ORDER
                14             Presently before the court is the government’s motion to reconsider the order denying
                15     forfeiture (doc. #70). (Doc. #73). The defendant responded (doc. #75), and the government replied
                16     (doc. #77).
                17             “Reconsideration is appropriate if the district court (1) is presented with newly discovered
                18     evidence, (2) committed clear error or the initial decision was manifestly unjust, or (3) if there is an
                19     intervening change in controlling law.” School Dist. No. 1J v. ACandS, Inc., 5 F.3d 1255, 1263 (9th
                20     Cir. 1993); see Fed. R. Civ. P. 59(e); see also Fed. R. Civ. P. 60(b).
                21             The government fails to present any new law, new facts, or new evidence indicating that any
                22     of the circumstances enumerated by the Ninth Circuit are present here warranting reconsideration
                23     or any other relief.
                24             Accordingly,
                25     ...
                26     ...
                27     ...
                28
James C. Mahan
U.S. District Judge
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                  1           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the government’s motion
                  2    to reconsider the order denying forfeiture (doc. #73) be, and the same hereby is, DENIED.
                  3           DATED September 15, 2010.
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                                                            UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                  -2-
